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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                 )
IN RE PHARMACEUTICAL INDUSTRY                    )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )    Civil Action No. 01-12257-PBS
LITIGATION                                       )    Subcategory Case No: 03-12141-PBS
                                                 )
                                                 )
THIS DOCUMENT RELATES TO:                        )    Judge Patti B. Saris
                                                 )
       The State of Iowa                         )
                                                 )
v.                                               )
                                                 )
       Abbott Laboratories, et al.               )
                                                 )


                      [PROPOSED] ORDER OF DISMISSAL OF
               PLAINTIFF’S CLAIMS AGAINST THE TEVA DEFENDANTS

       WHEREFORE, IT IS ORDERED, that

       1.      Pursuant to Fed. R. Civ. P. 41 and the terms of the Settlement Agreement by and

among the State of Iowa and defendants Teva Pharmaceuticals USA, Inc., Novopharm USA,

Inc., Barr Laboratories, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., and Sicor, Inc.

(collectively, the “Teva Defendants”), all of the claims in this action against the Teva Defendants

are dismissed with prejudice and without costs to any party.


       2.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.


       3.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.


       IT IS SO ORDERED this ___ day of _______________, 2011


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                             ________________________________________
                             THE HONORABLE PATTI B. SARIS
                             UNITED STATES DISTRICT COURT JUDGE




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